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                          UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA

IN RE: ROUNDUP PRODUCTS                   |        MDL No. 2741
LIABILITY LITIGATION                      |
                                          |        [PROPOSED] ORDER GRANTING
                                          |        PLAINTIFF’S SUBSTITUTION OF
This document relates to:                 |        CHARLES NICOLACOPOULOS IN
                                          |        PLACE OF NICOLETTA
Nicoletta Nicolacopoulos v. Monsanto Co., |        NICOLACOPOULOS
Monsanto Co.,                             |
Case No.: 3:20-cv-01018                   |



       1. Counsel for Plaintiff’s Motion to Substitute Charles Nicolacopoulos in Place of

          Nicoletta Nicolacopoulos pursuant to F.R.C.P.25 is GRANTED.

       2. Charles Nicolacopoulos is here by substituted in place of Nicoletta Nicolacopoulos.

       3. Accordingly, the case caption shall be amended as follows: Charles Nicolacopoulos,

          as personal representative of the Estate of Nicoletta Nicolacopoulos, and on behalf of

          the wrongful death beneficiaries of Nicoletta Nicolacopoulos.



                          30th day of _________________,
       SIGNED on this the ____          August           2023.



                                                   _______________________________
                                                   VINCE CHHABRIA
                                                   United States District Court Judge
